          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:95cr178-08


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
LONNIE HAMES, JR.         )
                          )



      THIS MATTER is before the Court on reassignment.

      On June 2, 2008, Randolph Lee was appointed to represent the

Defendant for the purpose of determining whether Amendment 706 to the

United States Sentencing Guidelines applied to the Defendant. [Doc. 465].

The Defendant had apparently been identified as a one who may be

entitled to relief under 28 U.S.C. §3582 as a result of Amendment 706. For

reasons unknown to the Court, Mr. Lee did not file any motion on the

Defendant’s behalf, file a notice of ineligibility or otherwise make an

appearance.

      On November 17, 2008, the United States Probation Office filed its

Supplement to the Presentence Report Pursuant to the Crack Cocaine



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Guideline Amendment and its Sentencing Recommendation. [Docs. 485,

486]. The Probation Office recommended that the Amendment be applied

to the Defendant and that his sentence be modified to a sentence of time

served. [Id.]. No further action was taken on the Defendant’s behalf.

     On April 1, 2009, this case was reassigned to the undersigned.

Because the supplement to the presentence report indicated that the

Defendant had a projected release date of March 6, 2009, based on the

calculation of the Bureau of Prisons, the Court inquired as to whether the

Defendant remains in custody and whether application of the Amendment

to his sentence should be made. The Court was advised that the

Defendant had in fact been released from prison on March 6, 2009, thus

rendering moot any question as to whether the Defendant is entitled to

have his sentence shortened.

     It has been requested, however, that the question of the Defendant’s

Amendment 706 eligibility be determined by the Court notwithstanding the

Defendant’s release. The Court, however, does not have jurisdiction to do

so. Since the Defendant has completed his term and there is no motion

pending, resolving the question of Defendant’s eligibility would be nothing

more than academic. Hence the question is moot, and there is no Article

III case or controversy for the Court to decide. See Spencer v. Kemna, 523



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U.S. 1, 7-8 (1998).

     IT IS, THEREFORE, ORDERED that relief pursuant to Amendment

706 is DENIED in that the question of the Defendant’s eligibility thereunder

is moot.



                                     Signed: April 16, 2009




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